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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  WILLIAM BARNHOUSE,
            Plaintiff,                               CASE NO. 1:19-cv-00958-TWP-DLP

  v.

  CITY OF MUNCIE,
  FONDA KING, STEVE STEWART,
  GORDON WATTERS, STEVE BLEVINS,
  DONALD BAILEY, TERRY WINTERS,
  CARL SOBIERALSKI, AS-YET
  UNIDENTIFIED MUNCIE POLICE
  OFFICERS, AND AS-YET
  UNIDENTIFIED EMPLOYEES OF THE
  INDIANA STATE POLICE CRIME LAB,
             Defendants.

                                                  ORDER

         Comes now Scott E. Shockley of DeFur Voran LLP, and files is Motion to Withdraw

  Appearance, and the Court being duly advised in the premises finds that said Motion should be

  granted.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that Scott

  E. Shockley is granted leave to withdraw his appearance as counsel for Defendant, Carl

  Sobieralski.

         Dated:
                                               ________________________________________
                                               JUDGE, UNITED STATES DISTRICT COURT


  Service will be made electronically on all
  ECF-registered counsel of record via email
  generated by the court’s ECF system
